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                     IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF WEST VIRGINIA

UNITED STATES OF AMERICA,

                      Plaintiff,

vs.                                                  CRIMINAL ACTION NO. 1:06CR83-5

ROBERT DODD,
                      Defendant.
                                       ORDER/OPINION

       On the 3rd day of November, 2006, Defendant corresponded pro se and ex parte with the

Court. Said correspondence was filed as a motion and sealed (Docket Entry 83).

       The Court conducted a hearing on Defendant’s motion on the 15th day of November, 2006.

At that hearing, the Government was represented by AUSA Zelda Wesley. Defendant’s counsel,

Anne Ballard, was present. Government’s counsel was excluded from the hearing to protect against

invasion of Defendant’s attorney client privilege.

       The Defendant was sworn. The Court then proceeded to hear Defendant’s testimony.

       For reasons apparent to the Court and as stated on the record of the November, 2006,

hearing, Defendant’s pro se motion [Docket Entry 57] is DENIED.

       IT IS SO ORDERED.

       The United States District Clerk for the Northern District of West Virginia is directed to

provide a copy of this order to Defendant and Ms. Ballard.

       DATED: November 15, 2006.
                                             /s John S. Kaull
                                             JOHN S. KAULL
                                             UNITED STATES MAGISTRATE JUDGE
